         Case 1:17-cv-01047-ESH Document 54 Filed 08/15/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_______________________________________
                                       )
DEMOCRACY PARTNERS, LLC, et al.,       )
                                       )
            Plaintiffs,                )
                                       )
v.                                     )                    No. 1:17-cv-01047-ESH
                                       )
PROJECT VERITAS ACT FUND, et al.,      )
                                       )
            Defendants.                )
                                       )
_______________________________________)

                      PLAINTIFFS’ MOTION FOR PRO HAC VICE
                        ADMISSION OF HEATHER ABRAHAM

       Plaintiffs respectfully move pursuant to Local Civil Rule 83.2(d) for the pro hac vice

admission of Heather Abraham to the bar of this Court. In support of this motion, attached

hereto is the Declaration of Heather Abraham, to show that Ms. Abraham meets the requirements

of LCvR 83.2(d).



                                            Respectfully submitted,

                                            /s/ Yael Bromberg
                                            Yael Bromberg, D.C. Bar No. 1045569
                                            CIVIL RIGHTS CLINIC
                                            GEORGETOWN UNIVERSITY LAW CENTER
                                            600 New Jersey Avenue NW, Suite 531
                                            Washington, DC 20001
                                            Tel: (202) 662-9535
                                            Yael.Bromberg@law.georgetown.edu

                                            Attorney for Plaintiff

Dated: August 15, 2018
         Case 1:17-cv-01047-ESH Document 54 Filed 08/15/18 Page 2 of 2



                                CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on this 15th day of August, 2018, a copy of the foregoing

Motion to Admit Counsel Pro Hac Vice was filed electronically with the Clerk of the Court. The

Electronic filing prompted automatic service of the filing to all counsel of record in this case who

have obtained CM/ECF passwords.



                                                  _/s/ Yael Bromberg__________
                                                  YAEL BROMBERG
